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                                                                                  FILED



                   IN THE UNITED STATES DISTRICT COURT
                                                                               10:47 am, 5/18/18
                                                                             Stephan Harris
                        FOR THE DISTRICT OF WYOMING
                                                                             Clerk of Court

ZACHARY LEBO,

                            Plaintiff,
vs.                                           Case No: 17-CV-154-F

NAVIENT SOLUTIONS, LLC,

                          Defendant.

      ORDER GRANTING STIPULATED MOTION FOR DISMISSAL WITH
                           PREJUDICE

       This matter is before the Court on the parties’ Stipulated Motion for Dismissal

with Prejudice. (Doc. 20). The Court has reviewed the stipulation and is fully informed in

the premises.

       IT IS ORDERED that this case is DISMISSED WITH PREJUDICE, each party to

pay their costs and attorneys’ fees.

       Dated this WK day of May, 2018.




                                          ANCY
                                         NANCYY D.
                                                D FREUDENTHAL
                                         CHIEF UNITED STATES DISTRICT JUDGE
